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UNITED STATES DISTRICT COURT                                             ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                                            DOC #:
                                                                         DATE FILED: 6/16/2023
 GULF ISLAND SHIPYARDS, LLC,

                              Plaintiff,

                            -against-                                   1:22-cv-1018-MKV

 MEDITERRANEAN SHIPPING COMPANY (USA),                                       ORDER
 INC., as agent for MSC MEDITERRANEAN
 SHIPPING CO. S.A., GENEVA, et al.,

                              Defendants.

MARY KAY VYSKOCIL, United States District Judge:

          The Court is in receipt of Defendants’ letter regarding their contemplated motion to dismiss

Plaintiff’s Rule 14(c) tender in this case. [ECF No. 99.] Plaintiff did not file a response. Based

on the Court’s careful review of the Defendants’ letter, a pre-motion conference is not necessary.

          IT IS HEREBY ORDERED that, by June 23, 2023, Plaintiff shall file a letter informing

the Court and Defendants whether Plaintiff intends to file an amended complaint. This will be

Plaintiff’s last opportunity to amend in response to any issue raised in the pre-motion letter.

          IT IS FURTHER ORDERED that, if Plaintiff elects to amend, it shall file the amended

complaint by July 10, 2023. Defendants shall respond within 14 days. If Defendants respond with

a motion to dismiss, further briefing shall be submitted on the schedule set forth in Local Rule

6.1(b).

          IT IS FURTHER ORDERED that, if Plaintiff elects not to amend, Defendants shall file

their contemplated motion by July 10, 2023. Further briefing shall be submitted on the schedule

set forth in Local Rule 6.1(b).

          Any request for an extension or adjournment shall be made by letter filed on ECF and must

be received at least 48 hours before the deadline.
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SO ORDERED.

                                         _________________________________
Date: June 16, 2023                      MARY KAY VYSKOCIL
      New York, NY                       United States District Judge




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